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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-80178-CR-MARRA/MATTHEWMAN



   UNITED STATES OF AMERICA,
             Plaintiff,
   v.

   JONATHAN P. BONNANO,
            Defendant.
                                        /

        DEFENDANT’S UNOPPOSED MOTION TO MODIFY BOND CONDITIONS

         The Defendant, JONATHAN P. BONNANO (“Bonnano”), by and through the

  undersigned counsel, respectfully files this Unopposed Motion for Motion to Modify Bond

  Conditions and states as follows:

         1.      On November 24, 2021 Bonnano was released on 250k Corporate surety bond

  signed by himself and 500k personal surety bonds co-signed by his parents and friend.

         2.      Bonnano was given the following conditions of release with active GPS

  monitoring and curfew from 10:00 PM to 5:00 AM: surrender all passports and travel

  documents, report to pre-trial services as directed, submit to substance abuse testing and/or

  treatment, refrain from excessive alcohol use or use of a narcotic drug or other controlled

  substance, maintain employment, avoid contact with victims and witness, not possess any

  weapons, not sell any real property owned until bond is discharged, avoid use of marijuana

  unclouding medical marijuana, seek and obtain a Florida driver’s license, and permitted to travel

  to and from the Southern District of Florida.
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          3.     Bonnano seeks to travel to Canton, Georgia from December, 23 2021 through

  January 3, 2022 to visit his parents for the holidays. He will be residing with his parents during

  his stay at: 709 Paint Horse Drive, Canton, Georgia 30115. Bonnano agrees to abide by the same

  conditions of release while in Georgia.

          4.     Undersigned counsel contacted Assistant United States Attorney, John McMillan,

  who indicated that he does not object to this Motion. Pre-Trial Officer Mark Delesdernier

  indicated he will adopt the same position as the Assistant United States Attorney.

          WHEREFORE, the Defendant respectfully requests that this Honorable Court grant the

  Defendant’s Unopposed Motion to Modify Bond Conditions and enter an Order in accordance

  herewith.

                                                Respectfully submitted,


                                                By: s/ Michael Mirer
                                                   MICHAEL MIRER, ESQ.
                                                   Florida Bar No. 0119490
                                                   Attorney for the Defendant
                                                   100 Biscayne Blvd
                                                   Suite 1300
                                                   Miami, Florida 33132
                                                   Tel.: 305-536-6177
                                                   Fax: 305-536-6179



                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the above and foregoing was
  furnished to: John McMillan, Assistant United States Attorney on this 8th day of December,
  2021.


                                                By: s/ Michael Mirer
                                                   MICHAEL MIRER, ESQ
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-80178-CR-MARRA/MATTHEWMAN



   UNITED STATES OF AMERICA,
             Plaintiff,
   v.

   JONATHAN P. BONNANO,
            Defendant.
                                        /

                           ORDER ON DEFENDANT’S UNOPPOSED
                          MOTION TO MODIFY BOND CONDITIONS

          THIS CAUSE, having come on for consideration before the Court, upon the Defendant’s
  Unopposed Motion to Modify Bond Conditions and after having reviewed said Motion and being
  otherwise fully advised on its premises, it is hereby


          ORDERED AND ADJUDGED that the Defendant’s Unopposed Motion to Modify
  Bond Conditions is hereby_______________________.

          The Defendant’s bond conditions are hereby modified so that he may be able

  to travel to Canton, Georgia from December, 23 2021 through January 3, 2022.

          DONE AND ORDERED in Miami, FL, this _________ day of ________________
  2021.


                                        ___________________________________________
                                        THE HONORABLE WILLIAM MATTHEWMAN
                                        U.S. DISTRICT COURT JUDGE

  cc:     Michael Mirer, Esq.
          John McMillan, AUSA
